 Case 2:18-cv-07636-CJC-JC Document 150 Filed 07/21/20 Page 1 of 1 Page ID #:7456

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.       CV 18-07636-CJC (JCx)                             Date       July 21, 2020
 Title          Lamont Tarkington v. County of Los Angeles et al




PRESENT:

            HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

         Gabriela Garcia                                   Debbie Hino-Spaan
         Deputy Clerk                                      Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                    ATTORNEYS PRESENT FOR DEFENDANT:

                Leo Terrell                                       Alex Lowder

PROCEEDINGS:           MOTION TO ENFORCE SETTLEMENT [146]


       Motion hearing held. The Court hears oral argument from the parties. The Court takes
the Motion under submission. The parties shall provide the Court with a status on settlement
no later than August 10, 2020.




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                                                  Initials of Deputy Clerk    gga
cc:

CV-90 (06/04)                           CIVIL MINUTES - GENERAL                              Page 1 of 1
